                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


 IN RE: Roy A. Hendricks aka
 Roy Hendricks aka Roy A Hendricks, Jr.
                          Debtor(s)                                     Chapter 13

 Lakeview Loan Servicing, LLC
                          Movant
            vs.                                               Case No. 21-bk-00169-MJC

 Roy A. Hendricks aka Roy Hendricks aka
 Roy A Hendricks, Jr.
                          Debtor(s)                                  11 U.S.C. Section 362

 and Jack N. Zaharopoulos
                         Trustee
 _______________________________________

                                          ORDER

       Upon consideration of the Certification of Default filed by the Moving Party in
accordance with the Stipulation of the parties approved on April 26, 2022, Dkt. # 71, it is
ORDERED AND DECREED that:
       The Automatic Stay of all proceedings as provided under Section 362 of the
Bankruptcy Abuse Prevention and Consumer Protection Act of 2005 (The Code), 11 U.S.C.
Section 362, is modified with respect to the subject premises located at 7111 Birch Tree Lane,
Swiftwater, PA 18370 (“Property), so as to allow Movant, and its successors or assignees, to
proceed with its rights and remedies under the terms of the subject Mortgage and pursue its in
rem State Court remedies including, but not limited to, taking the Property to Sheriff’s
Sale, in addition to potentially pursuing other loss mitigation alternatives including, but not
limited to, a loan modification, short sale or deed-in-lieu of foreclosure. Additionally, any
purchaser of the Property at Sheriff's Sale (or purchaser's assignee) may take any legal
action for enforcement of its right to possession of the Property.
       The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.



                                                         By the Court,



                                                         _____________________________
                                                         Mark J. Conway, Bankruptcy Judge
                                                         Dated: June 20, 2023

Case 5:21-bk-00169-MJC         Doc 72 Filed 06/20/23 Entered 06/20/23 13:11:29               Desc
                               Main Document     Page 1 of 1
